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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


             v.                                        ORDER
                                                     04-CR-189A

RONNIE FUNDERBURK,

                                Defendant.




      Defendant Ronnie Funderburk filed an omnibus motion on July 15, 2005,

requesting, inter alia, the suppression of evidence obtained via certain electronic

eavesdropping warrants and the suppression of statements defendant allegedly

made to law enforcement officers. On October 19, 2005, the case was referred

to Magistrate Judge Leslie G. Foschio, pursuant to 28 U.S.C. § 636(b)(1)(A). On

February 24, 2006, Magistrate Judge Foschio filed a Report and

Recommendation, recommending that defendant’s motion to suppress evidence

obtained via certain electronic eavesdropping warrants be denied. On

September 18, 2006, Magistrate Judge Foschio filed an Amended Report and

Recommendation, recommending that defendant’s motion to suppress his

statements be denied.

      Defendant filed objections to both Reports and Recommendations on

October 23, 2006, and the government filed a response thereto. Oral argument

on the objections was held on January 25, 2007.
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      Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo

determination of those portions of the Reports and Recommendations to which

objections have been made. Upon a de novo review of the Reports and

Recommendations, and after reviewing the submissions and hearing argument

from the parties, the Court adopts the proposed findings of both Reports and

Recommendations.

      Accordingly, for the reasons set forth in Magistrate Judge Foschio's

February 24, 2006 Report and Recommendation and September 18, 2006

Amended Report and Recommendation, the Court denies: (1) defendant’s motion

to suppress evidence obtained via certain electronic eavesdropping warrants; and

(2) defendant’s motion to suppress statements defendant allegedly made to law

enforcement officers.

      Counsel for all the parties in this case shall appear on February 27, 2007 at

9:00 a.m. for a meeting to set a trial date.

             SO ORDERED.


                                        s/ Richard J. Arcara
                                        HONORABLE RICHARD J. ARCARA
                                        CHIEF JUDGE
                                        UNITED STATES DISTRICT COURT

DATED: February 22, 2007




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